Dear Chief Thomas:
In a Lawrason Act municipality, such as the Town of Sterlington, an alderman must be an elector of the municipality and must have been domiciled for at least the immediately preceding year in the municipality. Further, an alderman must retain a residence within the particular district from which he is elected in order to retain the qualifications of office. The statutes governing this matter are found within LSA-R.S. 33:384, and 33:385, providing:
§ 384. Qualifications of mayor
      The mayor shall be an elector of the municipality who at the time of qualification as a candidate for the office of mayor shall have been domiciled and actually resided for at least the immediate preceding year in the municipality.
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§ 385. Qualifications of alderman; vacancies, office holding; contracting
      A. The qualifications of the alderman shall be the same as are prescribed for the mayor, and in addition, those elected from wards must be residents of their respective wards.
The Board of Aldermen may declare a seat vacant and appoint a qualified person to fill the vacancy where an alderman moves out of the district from which he is elected. See Attorney General Opinion 92-350, attached.
Very truly yours,
                                       RICHARD P. IEYOUB ATTORNEY GENERAL
                                   BY: __________________________ Kerry L. Kilpatrick Assistant Attorney General
 State of Louisiana
DEPARTMENT OF JUSTICE  Baton Rouge
RICHARD P. IEYOUB              70804-9005          P.O. Box 94005 ATTORNEY GENERAL                             TEL: (504) 342-7013 FAX: (504) 342-7335
                              MAY 28, 1992                          OPINION NUMBER 92-350
OPINION NO. 92-350 71   MUNICIPALITIES 77   OFFICERS Mr. Ray Rush 102 South Tenth Street            LSA R.S. 33:321 et.seq.; Post Office Box 688               33:385; 18:581; 18:581(1); Art. Oakdale, Louisiana 71463          VIII, Sec. 3 of 1921 Const.;  18:602(A) Where an alderman moves out of the district from which he is elected, the Board of Aldermen may declare the seat vacant and appoint a qualified person to fill the vacancy pursuant to the provisions of the Election Code.